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                       1   MANATT, PHELPS & PHILLIPS, LLP
                           Scott M. Pearson (CA Bar No. 173880)
                       2   Email: spearson@manatt.com
                           2049 Century Park East, Suite 1700
                       3   Los Angeles, CA 90067
                           Telephone: (310) 312-4283
                       4   Facsimile: (310) 312-4224

                       5   Kyla Wyatt (CA Bar No. 329484)
                           Email: kwyatt@manatt.com
                       6   1215 K Street, Suite 1900
                           Sacramento, CA 95814
                       7   Telephone: (916) 552-2304
                           Facsimile: (916) 552-2323
                       8
                           Joseph Reilly (Admitted Pro Hac Vice)
                       9   E-mail: jreilly@manatt.com
                           1050 Connecticut Ave. NW, Suite 600
                      10   Washington, D.C. 20036
                           Telephone: (202) 585-6500
                      11   Facsimile: (202) 585-6600

                      12   Attorneys for Defendant
                           CROSS RIVER BANK
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                                                        UNITED STATES DISTRICT COURT
                      15
                                                     NORTHERN DISTRICT OF CALIFORNIA
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                      17
                           ROBERT GOODRICH, MICHAEL                         Case No. 4:21-cv-09296-MMC
                      18   LAJTAY, and JULIA GREENFIELD,
                           individuals, on their own behalf and on behalf   Hon. Maxine M. Chesney
                      19   of all others similarly situated,

                      20                      Plaintiffs,                   STIPULATION TO EXTEND
                                                                            DEFENDANT CROSS RIVER BANK’S
                      21          v.                                        TIME TO RESPOND TO THE
                                                                            COMPLAINT BY 30 DAYS
                      22   CROSS RIVER BANK, a New Jersey                   (Civil Local Rule 6-1(a))
                           chartered bank, and DOES 1-100, inclusive.
                      23
                                          Defendants.
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M ANATT , P HELPS &
  P HILLIPS , LLP                      STIPULATION TO EXTEND TIME TO RESPOND TO THE COMPLAINT BY 30 DAYS
  ATTO RNEY S AT LAW                                          CASE NO. 4:21-CV-09296
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                             Case 3:21-cv-09296-MMC Document 18 Filed 01/26/22 Page 2 of 3



                       1          Plaintiffs Robert Goodrich, Michael Lajtay, and Julia Greenfield (“Plaintiffs”) and

                       2   defendant Cross River Bank (“Defendant”), through their counsel of record, stipulate as follows:

                       3          1.      Plaintiffs filed their complaint in this action (the “Complaint”) in the Superior

                       4   Court for the State of California, County of Alameda on November 1, 2021. Defendant was

                       5   served with a copy of the Complaint on November 15, 2021.

                       6          2.      On December 1, 2021, Defendant filed a Notice of Removal under 28 U.S.C.

                       7   § 1441 (Federal Question) with this Court. (ECF No. 1.)

                       8          3.      On December 7, 2021, Plaintiffs and Defendant filed a joint stipulation with this

                       9   Court, pursuant to Civil L.R. 6-1(a), to extend the time to answer, move, or otherwise respond to

                      10   the Complaint by thirty (30) days, which made the Defendant’s deadline Friday, January 7, 2022.

                      11   (ECF No. 6.)

                      12          4.      On January 4, 2022, Plaintiffs and Defendant again filed a joint stipulation

                      13   pursuant to Civil L.R. 6-1(a) to extend the time to answer, move, or otherwise respond to the

                      14   Complaint to February 7, 2022. (ECF No. 15.)

                      15          5.      Plaintiffs and Defendant are exploring possible resolutions of the litigation. As a

                      16   result, the parties have mutually agreed to a further thirty (30) day extension of time for

                      17   Defendant to answer, move, or otherwise respond to the Complaint, which will make Defendant’s

                      18   new deadline Monday, March 7, 2022.

                      19          6.      Civil L.R. 6-1(a) provides that “[p]arties may stipulate in writing, without a Court

                      20   order, to extend the time within which to answer or otherwise respond to the complaint, …

                      21   provided the change will not alter the date of any event or any deadline already fixed by Court

                      22   order.” Defendant and Plaintiffs confirm that this change will not alter the date of any event or

                      23   any deadline already fixed by Court order.

                      24          Pursuant to Civil L.R. 6-1(a), the Parties therefore stipulate to extending the time for

                      25   Defendant to move, answer or otherwise respond to the Complaint to and including Monday,

                      26   March 7, 2022.

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M ANATT , P HELPS &
  P HILLIPS , LLP                      STIPULATION TO EXTEND TIME TO RESPOND TO THE COMPLAINT BY 30 DAYS
  ATTO RNEY S AT LAW
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                                                              CASE NO. 4:21-CV-09296
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                       1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

                       2          Pursuant to Civil Local Rule 5-1(h)(3), the filer of this document attests that concurrence

                       3   in the filing of this document has been obtained from the signatories below.

                       4
                            Dated: January 26, 2022            MANATT, PHELPS & PHILLIPS, LLP
                       5

                       6
                                                               By:    /s/ Scott M. Pearson
                       7                                              Scott M. Pearson
                                                                      Attorneys for Defendant
                       8                                              CROSS RIVER BANK
                       9    Dated: January 26, 2022            PARASMO LIEBERMAN LAW
                      10

                      11                                       By:    /s/ Grace E. Parasmo
                                                                      Grace E. Parasmo
                      12                                              Yitzchak H. Lieberman
                                                                      Attorneys for Plaintiffs
                      13                                              ROBERT GOODRICH, MICHAEL LAJTAY, and
                                                                      JULIA GREENFIELD
                      14
                            Dated: January 26, 2022            PRESTON LAW OFFICES
                      15

                      16
                                                               By:    /s/ Ethan Preston
                      17                                              Ethan Preston
                                                                      Attorneys for Plaintiffs
                      18                                              ROBERT GOODRICH, MICHAEL LAJTAY, and
                                                                      JULIA GREENFIELD
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M ANATT , P HELPS &
  P HILLIPS , LLP                     STIPULATION TO EXTEND TIME TO RESPOND TO THE COMPLAINT BY 30 DAYS
  ATTO RNEY S AT LAW
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                                                             CASE NO. 4:21-CV-09296
